230 F.3d 1313 (11th Cir. 2000)
    Michael CHANDLER, individually and as next friend of his son, Jesse Chandler; Jane Doe, individually and as next friend of her daughter, Deborah Doe; Plaintiffs-Appellees,v.Don SIEGELMAN, in his official capacity as Governor of the State of Alabama and President of the State Board of Education, Bill Pryor, in his official capacity as Attorney General of the State of Alabama, Defendants-Appellants.
    Nos. 97-6898, 97-6953.
    United States Court of Appeals, Eleventh Circuit.
    October 19, 2000.October 31, 2000
    
      Appeals from the United States District Court for the Middle District of  Alabama. (No. 96-00169-CV-D-N), Ira De Ment, Judge.
      ON REMAND FROM THE SUPREME COURT OF THE UNITED STATES.
      Before TJOFLAT, GODBOLD and HILL, Circuit Judges.
      HILL, Circuit Judge:
    
    
      1
      In 1999, we unanimously vacated the Permanent Injunction entered by the district  court in Chandler v. James, 180 F.3d 1254 (11th Cir.1999)(Chandler I). We also  denied plaintiffs-appellees' petition for rehearing. No judge requested a vote  on a rehearing en banc, and the mandate issued. Plaintiffs then filed a petition  for certiorari with the Supreme Court  U.S. 120 S.Ct. 2714, 147  L.Ed.2d 979 (2000)).
    
    
      2
      On June 19, 2000, the Supreme Court issued its decision in Santa Fe Independent  School District v. Doe, 120 S.Ct. 2266, 147 L.Ed.2d 295 (2000).  On June 26, 2000, the Supreme Court granted the petition for certiorari in  Chandler I,1 vacated our judgment, and remanded the case to us for further  consideration in light of Santa Fe. The case was returned to us on September 1,  2000.
    
    
      3
      We have completed our review of Chandler I and have concluded that it is not in  conflict with the Supreme Court's decision in Santa Fe. Accordingly, we will  reinstate our opinion and judgment in Chandler I. We take this opportunity,  however, to explain how Chandler I fits within the Supreme Court's analysis in  Santa Fe so that the district court may have this guidance when it revisits its  injunction.
    
    I.
    
      4
      Santa Fe condemns school sponsorship of student prayer. Chandler condemns school  censorship of student prayer. In their view of the proper relationship between  school and prayer, the cases are complementary rather than inconsistent.2
    
    
      5
      In Santa Fe, the Supreme Court reaffirmed that the Establishment Clause of the  First Amendment prohibits a school district from taking affirmative steps to  create a vehicle for prayer to be delivered at a school function. 120 S.Ct. at  2279. This principle has been established for more than thirty years. Engel v..  Vitale, 370 U.S. 421, 82 S.Ct. 1261, 8 L.Ed.2d 601 (1962). The Court applied  that principle to hold that Santa Fe's policy of allowing students to vote on  whether to have prayer before football games constitutes such an affirmative  step. Id. at 2277.
    
    
      6
      Several facts were critical to this holding. First, the school board adopted the  following policy:
    
    
      7
      The board has chosen to permit a student to deliver a brief invocation and/or  message to be delivered during the pre-game ceremonies of home varsity  football games to solemnize the event ...
    
    
      8
      Id. at 2273. Second, the school board instituted its policy by establishing a  two-step election process. First, students vote on whether to have an invocation  or message prior to football games. If so, a second election is held to choose a  student to do so. Id. Only that student may speak at the game, and the same  student delivers the message at each game. Id.
    
    
      9
      In view of these facts, the Court rejected Santa Fe's argument that it was  merely providing a neutral accommodation of private religious speech. Id. at  2277. The Court found significant that the school policy "approve[s] of only one  specific kind of message, an 'invocation.' " Id. Under these circumstances, the  Court concluded that "the District has failed to divorce itself from the  religious content in the invocations," and has crossed the line from state  neutrality toward religion to state sponsorship of religion.
    
    
      10
      The fatal flaw in the Santa Fe policy was its attempt to disentangle itself from  the religious messages by instituting the student election process. Santa Fe  thought it could satisfy the constitutional requirement for neutrality toward  religious speech by allowing such speech to be chosen by the majority. In the  Court's view, however:
    
    
      11
      Santa Fe's student election system ensures that only those messages deemed  "appropriate" under the District's policy may be delivered. That is, the  majoritarian process implemented by the District guarantees, by definition,  that minority candidates will never prevail and that their views will be  effectively silenced.
    
    
      12
      Id. at 2276. Such a policy, the Court concluded, substitutes the views of the  majority for the government neutrality required by the Establishment Clause.  Thus, it violates the very raison d'tre of the Establishment Clause-protection  against the tyranny of a religious majority. Id. at 2277.
    
    
      13
      Consequently, the policy is not a neutral accommodation of religion. On the  contrary, "the realities of the situation plainly reveal that [the District's]  policy involves both perceived and actual endorsement of religion." Id. at 2277.  The " 'degree of school involvement' makes it clear that the pre-game prayers  bear 'the imprint of the State.' " Id. (quoting Lee v. Weisman, 505 U.S. 577,  112 S.Ct. 2649, 120 L.Ed.2d 467 (1992)).
    
    
      14
      Because the prayers bear the imprint of the State, they cannot be characterized  as "private" speech protected by the Free Exercise and Free Speech Clauses. The  Court held:   The delivery of such a message-over the school's public address system, by a  speaker representing the student body, under the supervision of school  faculty, and pursuant to a school policy that explicitly and implicitly  encourages public prayer-is not properly characterized as "private" speech.
    
    
      15
      Id. at 2279 (emphasis added). Since the religious speech produced by Santa Fe's  policy is sponsored by and, therefore, attributable to the school, it  constitutes an unconstitutional endorsement of religion by the State.
    
    II.
    
      16
      Although the policy at issue in Santa Fe involved student-led invocations on  school property at school-sponsored, school-related events, the Court was  careful to point out that "not every message delivered under such circumstances  is the government's own." Id. Thus, Santa Fe does not obliterate the distinction  between State speech and private speech in the school context. It does not  reject the possibility that some religious speech may be truly private even  though it occurs in the schoolhouse. Nor does it hold that all religious speech  is inherently coercive at a school event. On the contrary, the prayer condemned  there was coercive precisely because it was not private. 120 S.Ct. at 2277. The  Court's holding in Santa Fe is only that State-sponsored, coercive prayer is  forbidden by the Constitution.
    
    
      17
      Furthermore, Santa Fe explicitly reaffirms the basic principle that "there is a  crucial difference between government speech endorsing religion, which the  Establishment Clause forbids, and private speech endorsing religion, which the  Free Speech and Free Exercise Clauses protect." 120 S.Ct. at 2275 (quoting Board  of Ed. v. Mergens, 496 U.S. 226, 250, 110 S.Ct. 2356, 110 L.Ed.2d 191 (1990)).3  Santa Fe leaves unanswered, however, under what circumstances religious speech  in schools can be considered private, and, therefore, protected. This is the  answer Chandler I sought to supply.
    
    
      18
      In Chandler I, we were asked to review an injunction which assumed that  virtually any religious speech in schools is attributable to the State. While  the district court recognized that a student must be allowed to pray silently  while in school, or even discuss his religious beliefs quietly with others, it  enjoined the school district from permitting any prayer in a public context at  any school function.4 We held that this injunction was overbroad to the extent  that it equated all student religious speech in any public context at school  with State speech. In so doing, it eliminated any possibility of private student  religious speech under any circumstances other than silently or behind closed  doors. This the Constitution neither requires nor permits. The Establishment  Clause does not require the elimination of private speech endorsing religion in  public places. The Free Exercise Clause does not permit the State to confine  religious speech to whispers or banish it to broom closets. If it did, the  exercise of one's religion would not be free at all.
    
    
      19
      It is not the public context that makes some speech the State's. It is the  entanglement with the State. What the Court condemned in Santa Fe was not  private speech endorsing religion, but the delivery of a school-sponsored  prayer. Remove the school sponsorship, and the prayer is private. In Chandler I,  we held that such prayer must be permitted.
    
    
      20
      Therefore, if "[n]othing in the Constitution ... prohibits any public school  student from voluntarily praying at any time before, during, or after the school  day," Santa Fe, 120 S.Ct. at 2281, then it does not prohibit prayer aloud or in  front of others, as in the case of an audience assembled for some other purpose.  Chandler I, 180 F.3d at 1261. So long as the prayer is genuinely  student-initiated, and not the product of any school policy which actively or  surreptitiously encourages it, the speech is private and it is protected:
    
    
      21
      Permitting students to speak religiously signifies neither state approval nor  disapproval of that speech. The speech is not the State's-either by  attribution or by adoption. The permission signifies no more than that the  State acknowledges its constitutional duty to tolerate religious expression.  Only in this way is true neutrality achieved.
    
    
      22
      Id. As we said in Chandler I, a policy which tolerates religion does not  improperly endorse it. 180 F.3d at 1261.
    
    
      23
      Private speech endorsing religion is constitutionally protected-even in school.  Such speech is not the school's speech even though it may occur in the school.  Such speech is not unconstitutionally coercive even though it may occur before  non-believer students. The injunction entered by the district court in this case  proceeded on a contrary assumption and we reaffirm our directive that it must  conform its requirements to the Constitution. We directed the district court to  revisit its injunction in order to ensure that it did not command the school  district to actively prohibit-censor-genuinely student-initiated religious  speech, and we do so again.
    
    III.
    
      24
      The Permanent Injunction enjoins the school district from "aiding, abetting,  commanding, counseling, inducing, ordering, or procuring" school organized or  officially sanctioned religious activity. The school district recognizes that it  may not do these things and does not appeal this portion of the injunction. The  injunction also forbids the school district from "permitting" students to speak  religiously in any sort of public context. This it cannot constitutionally do.  The Permanent Injunction may neither prohibit genuinely student-initiated  religious speech, nor apply restrictions on the time, place, and manner of that  speech which exceed those placed on students' secular speech.5
    
    
      25
      Accordingly, we reaffirm our opinion and reinstate our judgment in Chandler I.  The case is REMANDED to the district court for further proceedings not  inconsistent with this opinion.
    
    
      
        NOTES:
      
      
        1
         Pursuant to Rule 43(c)(2), Fed. R.App. P., Governor Don Siegelman was  automatically substituted as a party for his predecessor in office, former  Governor Fob James. The case is now styled Chandler v. Siegelman.
      
      
        2
         Furthermore, Santa Fe is limited to the issue of school-sponsored student  speakers over public address systems at official school events. The activities  prohibited by the Permanent Injunction entered in Chandler I are far more  extensive.
      
      
        3
         As we said in Chandler I, "[r]eligious speech by students does not become  forbidden 'state action' the moment the students walk through the schoolhouse  door." 180 F.3d at 1261-62.
      
      
        4
         For example, the Permanent Injunction permits students to "quietly engage in  religious activity during non-instructional times, so long as it does not unduly  call attention thereto." Chandler I, 180 F.3d at 1260 n. 10.
      
      
        5
         The district court had before it a great deal of information concerning prior  actions of school personnel indicating a majoritarian purpose to foster one  particular religion. Indeed, it was because of this record that we affirmed the  appointment of a monitor. See Chandler I, 180 F.3d at 1265. We had no occasion,  then or now, to inspect any specific activity of students permitted to speak  religiously. Nor shall we speculate. Should the permission we now hold to be  required be transformed into proselytizing by school personnel, the monitor can  bring that to the court's attention. We shall not assume that those enjoined  will not abide the injunction.
      
    
    